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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

     JAMES RAY,


     Plaintiff,                                             Civil Action No:

     v.

     EXPERIAN INFORMATION SOLUTIONS,                        COMPLAINT
     INC., TRANS UNION, LLC, and
     WAKEFIELD AND ASSOCIATES, INC.,
                                                            DEMAND FOR JURY TRIAL

     Defendants,

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

          NOW COMES, Plaintiff JAMES RAY (“Plaintiff”) by and through his attorneys, JAFFER

& ASSOCIATES, PLLC, and files this Complaint against Defendant EXPERIAN

INFORMATION SOLUTIONS, INC. (“Experian”), Defendant TRANS UNION, LLC.

(“Transunion”), and Defendant WAKEFIELD AND ASSOCIATES, INC. (“Wakefield”)

collectively referred to as “Defendants”, and alleges, upon information and belief, the following:

                                   PRELIMINARY STATEMENT
1.        This is an action for actual damages, statutory damages, punitive damages, costs, and

attorneys’ fees pursuant to 15 USC § 1681 et seq. the Fair Credit Reporting Act (the “FCRA”)

and15 U.S.C. § 1692 the Fair Debt Collection Practices Act (“FDCPA”) et seq.

                                   JURISDICTION AND VENUE
2.        This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. § 1331, 1334, 15

U.S.C. § 1681p, which allows claims under the FCRA to be brought in any appropriate Court of

competent jurisdiction.

3.        Venue in this District is proper under 28 U.S.C. § 1391b(1), 28 U.S.C. § 1391b(2), and 28


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U.S.C. § 1391b(3) because a substantial part of the events or omissions giving rise to this claim

occurred here.

4.      Joinder in this District is proper as to all Defendants Under Rule 20(a) of the Federal Rules

of Civil Procedure as (1) the claims against the Defendants arise out of the same transaction,

occurrence, or series of transactions or occurrences, and (2) there is a question of law or fact

common to all Defendants.

                                   PARTIES AND SERVICE
Plaintiff James Ray

5.      Plaintiff is a resident of Johnson County, Texas.

6.      At all times material hereto, Plaintiff is a “Consumer”, as defined by 15 U.S.C. § 1681a(c)

and 15 U.S.C. § 1692a(3).

Defendant Experian Information Solutions, Inc.

7.      Defendant Experian is a “Consumer Reporting Agency” as defined by 15 U.S.C. § 1681a(f)

and conducts substantial and regular business activities in this judicial district. Experian may be

served with process upon CORPORATION SERVICE COMPANY, its registered agent for

service of process, at 211 E. 7th Street, Suite 620, Austin, Texas 78701.

8.      At all times material hereto, Defendant Experian is a consumer reporting agency who

regularly engages in the business of assembling, evaluating and disbursing information concerning

consumers for the purposes of furnishing Consumer Reports, as said term is defined under 15

U.S.C. § 1681a(d), to third parties.

9.      At all times material hereto, Defendant Experian disbursed such consumer reports to third

parties under a contract for monetary compensation.

Defendant Trans Union, LLC.

10.     Defendant Transunion is a “Consumer Reporting Agency” as defined by 15 U.S.C. §


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1681a(f) and conducts substantial and regular business activities in this judicial district.

Transunion may be served with process upon CORPORATION SERVICE COMPANY, its

registered agent for service of process, at 211 E. 7th Street, Suite 620, Austin, Texas 78701.

11.     At all times material hereto, Defendant Transunion is a consumer reporting agency who

regularly engages in the business of assembling, evaluating and disbursing information concerning

consumers for the purposes of furnishing Consumer Reports, as said term is defined under 15

U.S.C. § 1681a(d), to third parties.

12.     At all times material hereto, Defendant Transunion disbursed such consumer reports to

third parties under a contract for monetary compensation.

Defendant Wakefield and Associates, Inc.

13.     Defendant is a “Person” as defined by 15 U.S.C. § 1681a(b).

14.     Defendant Wakefield is a “Debt collector” as defined by 15 U.S.C. § 1692a(6) and conducts

substantial and regular business activities in this judicial district. Defendant Wakefield may be

served with process upon USA-REGISTERED AGENT, its registered agent for service of process,

at 10601 Clarence Drive, Suite 250, Frisco, Texas, 75033.

15.     At all times material hereto, Defendant Wakefield is a debt collector regularly engaged in

the business of the collection of debts and the attempted collection of debts directly or indirectly

owed to “creditor”, as said term is defined under 15 U.S.C. § 1692a(4)

                              FACTUAL ALLEGATIONS
Defendant Wakefield violation of 15 U.S.C. § 1692

16.     In or around February 2024, Plaintiff obtained a copy of his credit reports and discovered

that Defendant Wakefield had wrongfully reported an account with an erroneous “collections”

status, and with an erroneous balance of $13,650 (the “Collections Account”).

17.     The original creditor for the Collections Account was Air Evac EMS Inc (“Air Evac”).


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18.     At a date preceding June 25, 2021, Plaintiff received an explanation of benefits (“EOB”)

from his health insurance provider Cigna Health and Life Insurance Company (“Cigna”).

19.     The EOB from Cigna stated that Plaintiff filed a claim from a service rendered by Air Evac

on June 25, 2021.

20.     The EOB further stated that Plaintiff owes an amount of $0.00 for the claim.

21.     At some point better known to Defendant Wakefield, Wakefield unlawfully purchased and

obtained ownership of the alleged debt incurred to Air Evac by Plaintiff.

22.     On August 1, 2023, Defendant Wakefield began furnishing the alleged Debt on Plaintiff’s

Experian and Transunion consumer reports as an account with a “collection” status and a balance

of $13,650.

23.     On or around August 3, 2023, Defendant Wakefield sent a debt collection letter to Plaintiff,

and a separate letter to Plaintiff’s ex-wife.

24.     Plaintiff is the sole subscriber of Cigna health insurance, and the patient of the services

rendered by Air Evac was a dependent of Plaintiff.

25.     Plaintiff’s ex-wife was not listed in the claim, nor the EOB sent by Cigna.

26.     On or around August 11, 2023, Plaintiff sent a letter via certified mail to Defendant

Wakefield requesting they refrain from sending any future communications to him and his ex-wife

to his mailing address.

27.     On or around August 11, 2023, Plaintiff sent a letter via certified mail to Defendant

Wakefield requesting a validation of the debt.

28.     To this day, Defendant Wakefield has not validated the debt with Plaintiff.

29.     Defendant Wakefield continues to attempt the collection of a debt that has already been

paid and closed, and they contacted a third-party about this debt without Plaintiff’s authorization



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or consent.

30.     Due to Defendant Wakefield’s actions, Plaintiff has suffered actual damages including but

not limited to injury to his creditworthiness and reputation, credit denials, anxiety, lack of sleep,

invasion of his privacy, and added stress to his daily routine.

31.     For these reasons, Defendant Wakefield has violated the FDCPA, entitling Plaintiff to

statutory damages, actual damages, reasonable attorneys’ fees, and any other costs the Court finds

just and proper.

Defendant Wakefield violation of 15 U.S.C. § 1681s-2(b)

32.     In or around February 2024, Plaintiff obtained copies of his Experian and Transunion credit

reports and discovered that Defendant Wakefield had wrongfully reported an account with an

erroneous “collections” status, and with an erroneous balance of $13,650 (the “Collections

Account”).

33.     In February 2024, Plaintiff disputed the Account with Defendants Experian and

Transunion, detailing the erroneous status and inaccuracies of the Account and attaching

supporting documents which included a copy of his Explanation of Benefits from Cigna stating he

owes $0.00 for the claim with the original creditor, Air Evac.

34.     It is averred that Defendants Experian and Transunion forwarded the disputes and an

automated Consumer Dispute Verification form (“ACDV”) to Defendant Wakefield.

35.     Despite Defendant Wakefield receiving the disputes, ACDVs, and accompanying

documents, Wakefield conducted a superficial investigation and reported back to Experian and

Transunion that the information concerning the Account was “Accurate” and should remain

unchanged on Plaintiff’s consumer reports.

36.     Defendant Wakefield negligently or willfully failed to conduct a reasonable investigation



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of Plaintiff’s disputes when it conducted a superficial investigation and did not review or evaluate

the documents attached with the Plaintiff’s disputes.

37.     Defendant Wakefield did not correct or delete the inaccurate or erroneous information

relating to the Account but continued to report false and erroneous information to Experian and

Transunion.

38.     As a result of the inaccurate information remaining on the Plaintiff’s consumer reports

relating to the Account, the Plaintiff was denied credit opportunities, and will continue to be

harmed and injured by Defendant Wakefield’s erroneous and inaccurate reporting for up to 7 years.

39.     Due to Defendant Wakefield’s negligent or willful failure to conduct a reasonable

investigation, the Plaintiff suffers from injury to his creditworthiness and reputation, credit denials,

increased interest rates, lower credit limits, increased costs of insurance, mental anguish and

emotional distress, anxiety, lack of sleep, loss of appetite, and added stress to his daily routine.

40.     For these reasons, Defendant Wakefield willfully or negligently failed to comply with its

obligations under 15 U.S.C. § 1681s2-b.

Defendant Experian violation of 15 U.S.C. § 1681i

41.     Sometime prior to February 2024, Defendant Wakefield furnished erroneous information

to Defendant Experian indicating that Plaintiff owed an alleged Debt to Defendant Wakefield of

$13,650 despite Plaintiff’s health insurance having already paid and settled the alleged Debt to the

original creditor Air Evac.

42.     Sometime prior to February 2024, Defendant Experian published the information furnished

by Defendant Wakefield in an account on Plaintiff’s Experian consumer report with a “collection”

status and a balance of $13,650 (the “Account”).

43.     This false reporting severely affected Plaintiff’s creditworthiness and reputation by



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depressing his credit scores and credit ratings.

44.     In February 2024, Plaintiff disputed the Account with Defendant Experian, detailing the

erroneous status and inaccuracies of the Account and attaching supporting documents which

included a copy of his Explanation of Benefits from Cigna stating he owes $0.00 for the claim

with the same original creditor.

45.     Defendant Experian acknowledged the receipt of Plaintiff’s dispute but did not contact

Defendant Wakefield, Cigna, or Air Evac, or review the supplied documentation provided by

Plaintiff.

46.     Instead, Defendant Experian relied solely on an automated system that confirmed the

existence of the Account without checking the validity of Plaintiff’s dispute.

47.     Defendant Experian did nothing more than parrot information from Wakefield.

48.     On March 14, 2024, Defendant Experian sent Plaintiff a cursory response stating that the

Account was verified and would remain on Plaintiff’s consumer report.

49.     Defendant Experian did not provide a summary of the investigation or any substantiating

documentation.

50.     The false and erroneous reporting of the Account on Plaintiff’s Experian report is

objectively likely to mislead intended users of the report.

51.     Plaintiff was subsequently denied credit opportunities by creditors citing poor credit and

accounts with “collection” status as the reason for the denial.

52.     To this date, Defendant Experian continues to publish false and erroneous information

relating to the Account on Plaintiff’s Experian consumer reports.

53.     Defendant Experian failed to promptly delete or correct the inaccurate information relating

to the Account.



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54.     The false and erroneous reporting by Defendant Experian will continue to cause harm and

injury to Plaintiff for up to 7 years.

55.     Due to Defendant Experian’s negligent or willful failure to conduct a reasonable

reinvestigation, the Plaintiff suffers from injury to his creditworthiness and reputation, credit

denials, increased interest rates, lower credit limits, increased costs of insurance, mental anguish

and emotional distress, anxiety, lack of sleep, and added stress to his daily routine.

56.     Defendant Experian willfully or negligently failed to comply with its obligations under 15

U.S.C. § 1681i.

Defendant Experian’s violation of 15 U.S.C. § 1681e(b)

57.     Defendant Experian did not follow reasonable procedures to assure maximum accuracy in

the preparation of Plaintiff’s consumer reports because Defendant Experian published a consumer

report relating to Plaintiff which contained erroneous information pertaining to the Account.

58.     Defendant Experian did not delete or correct the false or erroneous information on

Plaintiff’s consumer report after receiving disputes from the Plaintiff relating to his consumer

report and Account.

59.     Defenant Experian failed to take adequate steps to verify information before Experian

included it in the Plaintiff’s consumer report and later published the report to users.

60.     The false and erroneous reporting by Defendant Experian will continue to cause harm and

injury to Plaintiff for up to 7 years.

61.     Due to Defendant Experian’s negligent or willful failure to establish or follow reasonable

procedures to ensure maximum possible accuracy, the Plaintiff suffers from injury to his

creditworthiness and reputation, credit denials, increased interest rates, lower credit limits,

increased costs of insurance, mental anguish and emotional distress, anxiety, lack of sleep, and



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added stress to his daily routine.

62.     Defendant willfully or negligently failed to comply with its obligations under 15 U.S.C. §

1681e(b).

Defendant Transunion’s violation of 15 U.S.C. § 1681i

63.     Sometime prior to February 2024, Defendant Wakefield furnished erroneous information

to Defendant Transunion indicating that Plaintiff owed an alleged Debt to Defendant Wakefield

of $13,650 despite Plaintiff’s health insurance having already paid and settled the alleged Debt to

the original creditor Air Evac.

64.     Sometime prior to February 2024, Defendant Transunion published the information

furnished by Defendant Wakefield in an account on Plaintiff’s Transunion consumer report with a

“collection” status and a balance of $13,650 (the “Account”).

65.     This false reporting severely affected Plaintiff’s creditworthiness and reputation by

significantly depressing the Plaintiff’s credit scores and credit ratings.

66.     In February 2024, Plaintiff disputed the Account with Defendant Transunion, detailing the

erroneous status and inaccuracies of the Account and attaching supporting documents which

included a copy of his Explanation of Benefits from Cigna stating he owes $0.00 for the claim

with the same original creditor.

67.     Defendant Transunion acknowledged the receipt of Plaintiff’s dispute but did not contact

Defendant Wakefield, Cigna, or Air Evac, or review the supplied documentation provided by

Plaintiff.

68.     Instead, Defendant Transunion relied solely on an automated system that confirmed the

existence of the Account without checking the validity of Plaintiff’s dispute.

69.     Defendant Transunion did nothing more than parrot information from Wakefield.



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70.      On March 21, 2024, Defendant Transunion sent Plaintiff a cursory response stating that

the Account was verified and would remain on Plaintiff’s consumer report.

71.      Defendant Transunion did not provide a summary of the investigation or any substantiating

documentation.

72.      The false and erroneous reporting of the Account on Plaintiff’s Transunion report is

objectively likely to mislead intended users of the report.

73.      Plaintiff was subsequently denied credit opportunities by creditors citing poor credit and

accounts with “collection” status as reason for the denial.

74.      To this date, Defendant Transunion continues to publish false and erroneous information

relating to the Account on Plaintiff’s Transunion consumer reports.

75.      Defendant Transunion failed to promptly delete or correct the inaccurate information

relating to the Account.

76.      The false and erroneous reporting by Defendant Transunion will continue to cause harm

and injury to Plaintiff for up to 7 years.

77.      Due to Defendant Transunion’s negligent or willful failure to conduct a reasonable

reinvestigation, the Plaintiff suffers from injury to his creditworthiness and reputation, credit

denials, increased interest rates, lower credit limits, increased costs of insurance, mental anguish

and emotional distress, anxiety, lack of sleep, and added stress to his daily routine.

78.      Defendant Transunion willfully or negligently failed to comply with its obligations under

15 U.S.C. § 1681i.

Defendant Transunion’s violation of 15 U.S.C. § 1681e(b)

79.      Defendant Transunion did not follow reasonable procedures to assure maximum accuracy

in the preparation of Plaintiff’s consumer reports because Defendant Transunion published a



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consumer report relating to Plaintiff which contained erroneous information pertaining to the

Account.

80.      Defendant Transunion did not delete or correct the false or erroneous information on

Plaintiff’s consumer report after receiving disputes from the Plaintiff relating to his consumer

report and Account.

81.      Defenant Transunion failed to take adequate steps to verify information before Transunion

included it in the Plaintiff’s consumer report and later published the report to users.

82.      The false and erroneous reporting by Defendant Transunion will continue to cause harm

and injury to Plaintiff for up to 7 years.

83.      Due to Defendant Transunion’s negligent or willful failure to establish or follow reasonable

procedures to ensure maximum possible accuracy, the Plaintiff suffers from injury to his

creditworthiness and reputation, credit denials, increased interest rates, lower credit limits,

increased costs of insurance, mental anguish and emotional distress, anxiety, lack of sleep, and

added stress to his daily routine.

84.      Defendant willfully or negligently failed to comply with its obligations under 15 U.S.C. §

1681e(b).

                                    FIRST CAUSE OF ACTION
                            Violations of the Fair Credit Reporting Act
               Negligent violation of 15 USC § 1681i(a) as to Defendant Experian
85.       Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

86.       Experian negligently violated 15 U.S.C. § 168li(a) by failing to conduct reasonable

reinvestigations and delete inaccurate information from the credit file of Plaintiff after receiving

actual notice of such inaccuracies and conducting reinvestigations.

87.         Experian has negligently failed to comply with the FCRA. The failure of Experian to


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comply with the FCRA includes but is not limited to the following:

            a. The failure to follow reasonable procedures to assure the maximum possible

                accuracy of the information reported;

            b. The failure to correct erroneous personal information regarding Plaintiff

                after a reasonable request by Plaintiff;

            c. The failure to remove and/or correct the inaccuracy and derogatory

                information which Experian had notice was inaccurate;

            d. The failure to promptly and adequately investigate information which

                Experian had notice was inaccurate;

            e. The continual placement of inaccurate information into the credit report of

                Plaintiff after being advised by Plaintiff that the information was inaccurate;

            f. The failure to take adequate steps to verify information Experian had reason

                to believe was inaccurate before including it in the credit report of the

                consumer.

88.      As a result of the conduct, action and inaction of Experian, Plaintiff suffered damage by

loss of credit, loss of ability to purchase and benefit from credit, loss of earnest money, and the

mental and emotional pain, anguish, and embarrassment of credit denial.

89.      The conduct, action and inaction of Experian was negligent, rendering Experian liable for

actual, statutory and punitive damages in an amount to be determined by a Judge and/or Jury

pursuant to 15 U.S.C. § 1681(o).

90.      Plaintiff is entitled to recover reasonable costs and attorneys’ fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681(o).

91.      WHEREFORE, Plaintiff, an individual, demands judgement in his favor against



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Experian, for damages together with attorneys’ fees and costs pursuant to 15 U.S.C. § 1681(o).

                                  SECOND CAUSE OF ACTION
                            Violations of the Fair Credit Reporting Act
                 Willful violation of 15 USC § 1681i(a) as to Defendant Experian
92.       Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

93.       Experian willfully violated 15 U.S.C. § 168li(a) by failing to conduct reasonable

reinvestigations and delete inaccurate information from the credit file of Plaintiff after receiving

actual notice of such inaccuracies and conducting reinvestigations.

94.      Experian has willfully failed to comply with the FCRA. The failures of Experian to comply

with the FCRA include but are not limited to the following:

            a. The failure to follow reasonable procedures to assure the maximum possible

                accuracy of the information reported;

            b. The failure to correct erroneous personal information regarding Plaintiff

                after a reasonable request by Plaintiff;

            c. The failure to remove and/or correct the inaccuracy and derogatory

                information which Experian had notice was inaccurate;

            d. The failure to promptly and adequately investigate information which

                Experian had notice was inaccurate;

            e. The continual placement of inaccurate information into the credit report of

                Plaintiff after being advised by Plaintiff that the information was inaccurate;

            f. The failure to take adequate steps to verify information Experian had reason

                to believe was inaccurate before including it in the credit report of the

                consumer.

95.      As a result of the conduct, action and inaction of Experian, Plaintiff suffered damage by


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loss of credit, loss of ability to purchase and benefit from credit, loss of earnest money, and the

mental and emotional pain, anguish, and embarrassment of credit denial.

96.      The conduct, action and inaction of Experian was willful, rendering Experian liable for

actual, statutory and punitive damages in an amount to be determined by a Judge and/or Jury

pursuant to U.S.C. § 1681(n).

97.      Plaintiff is entitled to recover reasonable costs and attorneys’ fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

98.      WHEREFORE, Plaintiff, an individual, demands judgement in his favor against

Experian, for damages together with attorneys’ fees and costs pursuant to 15 U.S.C. § 1681(n).

                                    THIRD CAUSE OF ACTION
                            Violations of the Fair Credit Reporting Act
               Negligent violation of 15 USC § 1681e(b) as to Defendant Experian
99.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

100.      Defendant Experian violated 15 U.S.C. § 1681e(b) by failing to establish or follow

reasonable procedures to assure maximum possible accuracy in the preparation of the credit report

and credit files that Defendant Experian maintained concerning Plaintiff.

101.      Defendant Experian has negligently failed to comply with the FCRA. The failures of

Experian to comply with the FCRA include but are not necessarily limited to the following:

            a. The failure to follow reasonable procedures to assure the maximum

                possible accuracy of the information reported;

            b. The failure to correct erroneous personal information regarding the

                Plaintiff after a reasonable request by Plaintiff;

            c. The failure to remove and/or correct the inaccuracy and derogatory

                credit information after a reasonable request by Plaintiff;


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           d. The failure to promptly and adequately investigate information which

               Experian had notice was inaccurate;

           e. The continual placement of inaccurate information into the credit report of

               the Plaintiff after being advised by Plaintiff that the information was

               inaccurate;

           f. The failure to note in the credit report that Plaintiff disputed the

               accuracy of the information;

           g. The failure to promptly delete information that was found to be inaccurate,

               or could not be verified, or that the source of information had advised

               Experian to delete;

           h. The failure to take adequate steps to verify information Experian had

               reason to believe was inaccurate before including it in the credit report of

               the consumer.

102.   As a result of the conduct, action and inaction of Defendant Experian, Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, lost earnest money,

and the mental and emotional pain, anguish, humiliation, and embarrassment of credit denial.

103.   The conduct, action and inaction of Defendant Experian was negligent, entitling Plaintiff

to damages under 15 U.S.C. § 1681(o).

104.   Plaintiff is entitled to recover reasonable costs and attorney's fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 168l(o).

                                FOURTH CAUSE OF ACTION
                          Violations of the Fair Credit Reporting Act
               Willful violation of 15 USC § 1681e(b) as to Defendant Experian
105.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.


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106.   Defendant Experian violated 15 U.S.C. § 1681e(b) by failing to establish or follow

reasonable procedures to assure maximum possible accuracy in the preparation of the credit report

and credit files that Defendant Experian maintained concerning Plaintiff.

107.   Defendant Experian has negligently failed to comply with the FCRA. The failures of

Experian to comply with the FCRA include but are not necessarily limited to the following:

           a. The failure to follow reasonable procedures to assure the maximum

              possible accuracy of the information reported;

           b. The failure to correct erroneous personal information regarding the

              Plaintiff after a reasonable request by Plaintiff;

           c. The failure to remove and/or correct the inaccuracy and derogatory

              credit information after a reasonable request by Plaintiff;

           d. The failure to promptly and adequately investigate information which

              Experian had notice was inaccurate;

           e. The continual placement of inaccurate information into the credit report of

              the Plaintiff after being advised by Plaintiff that the information was

              inaccurate;

           f. The failure to note in the credit report that Plaintiff disputed the

              accuracy of the information;

           g. The failure to promptly delete information that was found to be inaccurate,

              or could not be verified, or that the source of information had advised

              Experian to delete;

           h. The failure to take adequate steps to verify information Experian had

              reason to believe was inaccurate before including it in the credit report of



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               the consumer.

108.     As a result of the conduct, action and inaction of Defendant Experian, Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, lost earnest money,

and the mental and emotional pain, anguish, humiliation, and embarrassment of credit denial.

109.     The conduct, action and inaction of Defendant Experian was willful, entitling Plaintiff to

damages under 15 U.S.C. § 1681(n).

110.     Plaintiff is entitled to recover reasonable costs and attorney's fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 168l(n).

                                   FIFTH CAUSE OF ACTION
                           Violations of the Fair Credit Reporting Act
             Negligent violation of 15 USC § 1681i(a) as to Defendant Transunion
111.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

112.     Transunion negligently violated 15 U.S.C. § 168li(a) by failing to conduct reasonable

reinvestigations and delete inaccurate information from the credit file of Plaintiff after receiving

actual notice of such inaccuracies and conducting reinvestigations.

113.   Transunion has negligently failed to comply with the FCRA. The failure of Transunion to

comply with the FCRA includes but is not limited to the following:

           g. The failure to follow reasonable procedures to assure the maximum possible

               accuracy of the information reported;

           h. The failure to correct erroneous personal information regarding Plaintiff

               after a reasonable request by Plaintiff;

           i. The failure to remove and/or correct the inaccuracy and derogatory

               information which Transunion had notice was inaccurate;

           j. The failure to promptly and adequately investigate information which


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               Transunion had notice was inaccurate;

           k. The continual placement of inaccurate information into the credit report of

               Plaintiff after being advised by Plaintiff that the information was inaccurate;

           l. The failure to take adequate steps to verify information Transunion had

               reason to believe was inaccurate before including it in the credit report of

               the consumer.

114.   As a result of the conduct, action and inaction of Transunion, Plaintiff suffered damage by

loss of credit, loss of ability to purchase and benefit from credit, loss of earnest money, and the

mental and emotional pain, anguish, and embarrassment of credit denial.

115.   The conduct, action and inaction of Transunion was negligent, rendering Transunion liable

for actual, statutory and punitive damages in an amount to be determined by a Judge and/or Jury

pursuant to 15 U.S.C. § 1681(o).

116.   Plaintiff is entitled to recover reasonable costs and attorneys’ fees from Transunion in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681(o).

117.   WHEREFORE, Plaintiff, an individual, demands judgement in his favor against

Transunion, for damages together with attorneys’ fees and costs pursuant to 15 U.S.C. § 1681(o).

                                  SIXTH CAUSE OF ACTION
                           Violations of the Fair Credit Reporting Act
              Willful violation of 15 USC § 1681i(a) as to Defendant Transunion
118.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

119.     Transunion willfully violated 15 U.S.C. § 168li(a) by failing to conduct reasonable

reinvestigations and delete inaccurate information from the credit file of Plaintiff after receiving

actual notice of such inaccuracies and conducting reinvestigations.

120.   Transunion has willfully failed to comply with the FCRA. The failures of Transunion to


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comply with the FCRA include but are not limited to the following:

           g. The failure to follow reasonable procedures to assure the maximum possible

               accuracy of the information reported;

           h. The failure to correct erroneous personal information regarding Plaintiff

               after a reasonable request by Plaintiff;

           i. The failure to remove and/or correct the inaccuracy and derogatory

               information which Transunion had notice was inaccurate;

           j. The failure to promptly and adequately investigate information which

               Transunion had notice was inaccurate;

           k. The continual placement of inaccurate information into the credit report of

               Plaintiff after being advised by Plaintiff that the information was inaccurate;

           l. The failure to take adequate steps to verify information Transunion had

               reason to believe was inaccurate before including it in the credit report of

               the consumer.

121.   As a result of the conduct, action and inaction of Transunion, Plaintiff suffered damage by

loss of credit, loss of ability to purchase and benefit from credit, loss of earnest money, and the

mental and emotional pain, anguish, and embarrassment of credit denial.

122.   The conduct, action and inaction of Transunion was willful, rendering Transunion liable

for actual, statutory and punitive damages in an amount to be determined by a Judge and/or Jury

pursuant to U.S.C. § 1681(n).

123.   Plaintiff is entitled to recover reasonable costs and attorneys’ fees from Transunion in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

124.   WHEREFORE, Plaintiff, an individual, demands judgement in her favor against



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Transunion, for damages together with attorneys’ fees and costs pursuant to 15 U.S.C. § 1681(n).

                               SEVENTH CAUSE OF ACTION
                          Violations of the Fair Credit Reporting Act
            Negligent violation of 15 USC § 1681e(b) as to Defendant Transunion
125.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

126.     Defendant Transunion violated 15 U.S.C. § 1681e(b) by failing to establish or

follow reasonable procedures to assure maximum possible accuracy in the preparation of the credit

report and credit files that Defendant Transunion maintained concerning Plaintiff.

127.     Defendant Transunion has negligently failed to comply with the FCRA. The failure of

Transunion to comply with the FCRA include but are not necessarily limited to the following:

           i. The failure to follow reasonable procedures to assure the maximum

               possible accuracy of the information reported;

           j. The failure to correct erroneous personal information regarding the

               Plaintiff after a reasonable request by Plaintiff;

           k. The failure to remove and/or correct the inaccuracy and derogatory

               credit information after a reasonable request by Plaintiff;

           l. The failure to promptly and adequately investigate information which

               Transunion had notice was inaccurate;

           m. The continual placement of inaccurate information into the credit report of

               the Plaintiff after being advised by Plaintiff that the information was

               inaccurate;

           n. The failure to note in the credit report that Plaintiff disputed the

               accuracy of the information;

           o. The failure to promptly delete information that was found to be inaccurate,


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                or could not be verified, or that the source of information had advised

                Transunion to delete;

             p. The failure to take adequate steps to verify information Transunion had

                reason to believe was inaccurate before including it in the credit report of

                the consumer.

128.          As a result of the conduct, action and inaction of Defendant Transunion, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit, lost earnest

money, and the mental and emotional pain, anguish, humiliation, and embarrassment of credit

denial.

129.          The conduct, action and inaction of Defendant Transunion was negligent, entitling

Plaintiff to damages under 15 U.S.C. § 1681(o).

130.          Plaintiff is entitled to recover reasonable costs and attorney's fees from Transunion

in an amount to be determined by the Court pursuant to 15 U.S.C. § 168l(o).

                                 EIGHTH CAUSE OF ACTION
                            Violations of the Fair Credit Reporting Act
              Willful violation of 15 USC § 1681e(b) as to Defendant Transunion
131.          Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein with the same force and effect as if the same were set forth at length

herein.

132.          Defendant Transunion violated 15 U.S.C. § 1681e(b) by failing to establish or

follow reasonable procedures to assure maximum possible accuracy in the preparation of the credit

report and credit files that Defendant Transunion maintained concerning Plaintiff.

133.          Defendant Transunion has negligently failed to comply with the FCRA. The failure

of Transunion to comply with the FCRA include but are not necessarily limited to the

following:


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           i. The failure to follow reasonable procedures to assure the maximum

               possible accuracy of the information reported;

           j. The failure to correct erroneous personal information regarding the

               Plaintiff after a reasonable request by Plaintiff;

           k. The failure to remove and/or correct the inaccuracy and derogatory

               credit information after a reasonable request by Plaintiff;

           l. The failure to promptly and adequately investigate information which

               Transunion had notice was inaccurate;

           m. The continual placement of inaccurate information into the credit report of

               the Plaintiff after being advised by Plaintiff that the information was

               inaccurate;

           n. The failure to note in the credit report that Plaintiff disputed the

               accuracy of the information;

           o. The failure to promptly delete information that was found to be inaccurate,

               or could not be verified, or that the source of information had advised

               Transunion to delete;

           p. The failure to take adequate steps to verify information Transunion had

               reason to believe was inaccurate before including it in the credit report of

               the consumer.

134.    As a result of the conduct, action and inaction of Defendant Transunion, Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, lost earnest money,

and the mental and emotional pain, anguish, humiliation, and embarrassment of credit denial.

135.    The conduct, action and inaction of Defendant Transunion was willful, entitling Plaintiff



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to damages under 15 U.S.C. § 1681(n).

136.     Plaintiff is entitled to recover reasonable costs and attorney's fees from Transunion in an

amount to be determined by the Court pursuant to 15 U.S.C. § 168l(n).

                               NINTH CAUSE OF ACTION
     Negligent Violation of the Fair Credit Reporting Act as to Defendant Wakefield
                                    15 U.S.C. § 1681s-2(b)
137. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

138.     Pursuant to the FCRA, all persons who furnished information to consumer reporting

agencies must participate in reinvestigations conducted by the agencies when a consumer disputes

the accuracy and completeness of information contained in a consumer report.

139.     Pursuant to the FCRA, a furnisher of disputed information is notified by the consumer

reporting agency when the agency receives a notice of dispute from a consumer such as Plaintiff.

The furnisher must then conduct a timely investigation of the disputed information and review all

relevant information provided by the agency.

140.     The results of the investigation by the person must be reported to consumer reporting

agencies and, if the investigation reveals that the original information is incomplete or inaccurate,

the furnisher must report the results to other agencies which were supplied such information.

141.     Defendant Wakefield negligently violated 15 U.S.C. § 1681s2-b by the publishing of

inaccurate credit information to a credit reporting agency; by failing to fully and properly investigate

Plaintiff’s disputes reported to Defendants Experian and Transunion; and by failing to correctly

report results of an accurate investigation to the credit reporting agencies.

142.     Specifically, Defendant Wakefield continued to report Plaintiff’s alleged debt that had

already been paid and settled with the original creditor as an account on Plaintiff’s Experian and

Transunion consumer reports with a “collection” status and $13,650 balance.


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143.     As a result of the conduct, action, and inaction of Defendant Wakefield, Plaintiff suffered

damages via loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials.

144.     The conduct, action, and inaction of Defendant Wakefield was negligent, rendering

Wakefield liable for actual, statutory, and punitive damages in an amount to be determined by a jury

pursuant to 15 U.S.C. § 1681(o).

145.     Plaintiff is entitled to recover reasonable costs and attorneys’ fees from Defendant

Wakefield in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(o).

                                 TENTH CAUSE OF ACTION
       Willful Violation of the Fair Credit Reporting Act as to Defendant Wakefield
                                      15 U.S.C. § 1681s-2(b)
146.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

147.     Pursuant to the FCRA, all persons who furnished information to consumer reporting

agencies must participate in reinvestigations conducted by the agencies when a consumer disputes

the accuracy and completeness of information contained in a consumer report.

148.     Pursuant to the FCRA, a furnisher of disputed information is notified by the consumer

reporting agency when the agency receives a notice of dispute from a consumer such as Plaintiff.

The furnisher must then conduct a timely investigation of the disputed information and review all

relevant information provided by the agency.

149.     The results of the investigation by the person must be reported to consumer reporting

agencies and, if the investigation reveals that the original information is incomplete or inaccurate,

the furnisher must report the results to other agencies which were supplied such information.

150.     Defendant Wakefield willfully violated 15 U.S.C. § 1681s2-b by the publishing of

inaccurate credit information to a credit reporting agency; by failing to fully and properly investigate


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Plaintiff’s disputes reported to Defendants Experian and Transunion; and by failing to report correct

results of an accurate investigation to the credit reporting agencies.

151.     Specifically, Defendant Wakefield continued to report Plaintiff’s alleged debt that had

already been paid and settled with the original creditor as an account on Plaintiff’s Experian and

Transunion consumer reports with a “collection” status and $13,650 balance.

152.     As a result of the conduct, action, and inaction of Defendant Wakefield, Plaintiff suffered

damages via loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials.

153.     The conduct, action, and inaction of Defendant Wakefield was willful, rendering Wakefield

liable for actual, statutory, and punitive damages in an amount to be determined by a jury pursuant

to 15 U.S.C. § 1681(n).

154.     Plaintiff is entitled to recover reasonable costs and attorneys’ fees from Defendant

Wakefield in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

                               ELEVENTH CAUSE OF ACTION
       Violation of the Fair Debt Collections Practices Act as to Defendant Wakefield
                                       15 U.S.C. § 1692e(2)
155.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

156.    Defendant Wakefield’s debt collection efforts violated 15 U.S.C. § 1692e(2) by

representing Plaintiff’s alleged debt in a false manner, particularly:

                     a. The false representation of the character, amount, or legal

                          status of the alleged debt;

157.    As a result of the conduct and action of Defendant Wakefield, Plaintiff suffered damage

by loss of credit, loss of ability to purchase and benefit from credit, lost earnest money, and the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denial.


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158.   For these reasons, Defendant Wakefield has violated the FDCPA and is liable to Plaintiff

for actual damages, statutory damages, costs, and reasonable attorney’s fees pursuant to 15 U.S.C.

§ 1692k(a).

                               TWELFTH CAUSE OF ACTION
       Violation of the Fair Debt Collections Practices Act as to Defendant Wakefield
                                       15 U.S.C. § 1692c(b)
159.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

160.   Defendant Wakefield’s debt collection efforts violated 15 U.S.C. § 1692c(b) in that its

conduct and action were unlawful, particularly:

161.   As a result of the conduct and action of Defendant Wakefield, Plaintiff suffered damage

by loss of credit, loss of ability to purchase and benefit from credit, lost earnest money, and the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denial.

162.   For these reasons, Defendant Wakefield has violated the FDCPA and is liable to Plaintiff

for actual damages, statutory damages, costs, and reasonable attorney’s fees pursuant to 15 U.S.C.

§ 1692k(a).

                             THIRTEENTH CAUSE OF ACTION
       Violation of the Fair Debt Collections Practices Act as to Defendant Wakefield
                                       15 U.S.C. § 1692e(8)
163.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

fully stated herein with the same force and effect as if the same were set forth at length herein.

164.   Defendant Wakefield’s debt collection efforts violated the FDCPA by representing

Plaintiff’s alleged debt in an unfair or unconscionable manner, particularly 15 U.S.C. § 1692e(8):

         a. Communicating or threatening to communicate to any person credit

              information which is known or which should be known to be false,

              including the failure to communicate that a disputed debt is disputed.



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165.    As a result of the conduct and action of Defendant Wakefield, Plaintiff suffered damage

by loss of credit, loss of ability to purchase and benefit from credit, lost earnest money, and the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denial.

166.   For these reasons, Defendant Wakefield has violated the FDCPA and is liable to Plaintiff

for actual damages, statutory damages, costs, and reasonable attorney’s fees.

                                DEMAND FOR TRIAL BY JURY
167.   Plaintiff requests a trial by jury on all issues and counts so triable, pursuant to Rule 38 of

the Federal Rules of Civil Procedure.

                                    PRAYER FOR RELIEF
WHEREFORE, Plaintiff seeks judgement as follows:

   1. Awarding Plaintiff actual damages provided and pursuant to 15 U.S.C. § 1681o(a)

       from Defendant Experian, Defendant Transunion and Defendant Wakefield;

   2. Awarding Plaintiff statutory damages provided and pursuant to 15 U.S.C. § 1681n(a)

       from Defendant Experian, Defendant Transunion and Defendant Wakefield;

   3. Awarding Plaintiff punitive damages provided and pursuant to 15 U.S.C. § 1681n(a)(2)

       from Defendant Experian, Defendant Transunion, and Defendant Wakefield;

   4. Awarding Plaintiff attorneys’ fees provided and pursuant to 15 U.S.C. § 1681n(a)(3), and

       15 U.S.C.§ 1681o(a)(2) as to Defendant Experian, Defendant Transunion, and Defendant

       Wakefield;

   5. Awarding Plaintiff statutory damages up to $1,000 provided and pursuant to 15 U.S.C. §

       1692k(2)(a) as to Defendant Wakefield;

   6. Awarding Plaintiff actual damages provided and pursuant to 15 U.S.C. § 1692k(1) as to

       Defendant Wakefield;

   7. Awarding Plaintiff attorneys’ fees provided and pursuant to 15 U.S.C. § 1692k(3) as to


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      Defendant Wakefield; and

   8. Awarding Plaintiff such other and further relief as this Court may deem just and proper.



Dated: May 13, 2024                                       Respectfully submitted



                                                          JAFFER & ASSOCIATES PLLC

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